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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §            Case No. 4:10cr86
                                                   §            (Judge Folsom)
 HAROLD LEANDER EVANS, JR. (5)                     §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 15, 2011, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Jay

 Combs.

        On January 26, 2011, Defendant was sentenced by the Honorable David J. Folsom to seven

 (7) months and nine (9) days’ custody followed by three (3) years of supervised release for the offense

 of Distribution of Cocaine Base.       On January 26, 2011, Defendant completed his period of

 imprisonment and began service of his supervised term.

        On August 19, 2011, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall refrain from any unlawful use of a controlled substance. Defendant

 shall submit to one drug test within 15 days of release from imprisonment or placement on probation

 and at least two periodic drug tests thereafter, as determined by the Court. The Government moved

 to dismiss the remaining violations.

        The petition alleges that Defendant committed the following acts: Defendant submitted urine

 specimens that tested positive for cocaine on June 29, 2011, July 1 and July 6, 2011, and August 18,
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     2011.

             Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violation. The Court recommends that Defendant’s supervised release be revoked.

                                          RECOMMENDATION

             The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eleven (11) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Seagoville Unit.

             After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
             SIGNED this 15th day of November, 2011.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
